     Case 3:08-cr-04585-JM        Document 51       Filed 10/29/09      PageID.120     Page 1 of 1



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 5                             UNITED STATES DISTRICT COURT
 6                         SOUTHERN DISTRICT OF CALIFORNIA
 7                             (HONORABLE JEFFREY T. MILLER)
 8
 9   UNITED STATES OF AMERICA,                          )
                                                        )
10                                Plaintiff,            )       CASE NO. 08CR4585-JM
                                                        )
11                                                      )       ORDER
                                                        )
12                                                      )
                                                        )
13                        v.                            )
                                                        )
14   MICHELLE MURDOCK,                                  )
                                                        )
15                                Defendants. )
                                                        )
16
17          Good cause appearing therefore:
18          IT IS HEREBY ORDERED that Defendant MICHELLE MURDOCK’s sentencing
19   hearing currently scheduled for October 30, 2009 at 9:00 a.m. be continued to January 8, 2010
20   at 9:00 a.m. Defendant’s acknowledgment of next court date will be filed by next week.
21          IT IS SO ORDERED.
22   DATED: October 29, 2009
23
                                                            Hon. Jeffrey T. Miller
24                                                          United States District Judge
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